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lN THE UNITED STATES DISTRICT COURT "~‘ '“ ‘ ‘
FoR THE DISTRICT oF NEW MEXICO s i-Eiil""- ' i- 3 "* h '

UNITED STA'I`ES OF AMERICA, )

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Plaimiff, ) CRIMINAL No. \§f §§ §§ l 2 H_RE)
)
vs. ) Count I: 21 U.S.C. § 846: Conspiracy;

)
ALONSO P. GRADO, JR., a.k.a. ) Counts 2-4, 6, 7, and 9-13: 21 U.S.C. §
“Lonsie,” ) 843(b): Use of a Cornmunjcation Facility to
RENE VERDUGO, ) Further the Commission of a Drug
STEPHAN E. MORALES, a.k.a. “Chills,” ) 'l`rafficking Crime;
and EULALIO VALENTIN CHAVEZ, )
a.k.a. “Lalo,” ) Count 5: 21 U.S.C. §§ 841(a)(l) and

) (b)(l](B): Distribution of 100 Grams and

Defendants. ) More of Heroin_; 18 U.S.C. § 21 Aiding and

) Abetting;

)

) Count 8: 21 U.S.C. §§ 84l(a)(l) and

) (b)(l)(A): Distribution of 50 Grams and

) More of Methamphetamine; 18 U.S.C.§ 2:

) Aiding and Abetting.

lN D l C T M E N T
The Grand Jury charges:
Count 1

From on or about October 24, 2017, and continuing to on or about December 2, 2017, in
Dofia Ana County, in the District ofNeW Mexico, and elsewhere, the defendants, ALONSO P.
GRADO, JR., a.k.a. “Lonsie,” RENE VERDUGO, STEPHAN E. MORALES, a.k.a.
“Chills,” and EULAI_.IO VALENTIN CI-IAVEZ, a.k.a. “Lalo,” unlawfully, knowingly and
intentionally combined, conspired, confederated, agreed, and acted interdependently with each
other and with other persons whose names are known and unknown to the Grand Jury to commit
an offense defined in 21 U.S.C. § 841(a)(l), specifically, distribution of controlled Substances,

methamphetamine and heroin.

 

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Quantitv of Methamnhetamine Involved in the Consoiracy

With respect to ALONSO P. GRAI)O, JR., a.k.a. “Lonsie,” RENE VERDUGO, and
EULALIO VALENTIN CHAVEZ, a.k.a. “Lalo,” the amount of methamphetamine involved
in the conspiracy attributable to them as a result of their own conduct, and the conduct of other
conspirators reasonably foreseeable to them, is 50 grams and more of methamphetamine,
contrary to 21 U.S.C. § 84l(b)(1)(A).

With respect to STEPHAN E. MORALES, a.k.a. “Chills,” the amount of
methamphetamine involved in the conspiracy attributable to him as a result of his own conduct,
and the conduct of other conspirators reasonably foreseeable to him, is a mixture and substance
containing a detectable amount of methamphetamine, contrary to 21 U.S.C. § 841(b)(l)(C).

Quantitv of Heroin lnvolved in the Consniracv

With respect to RENE VERDUGO, STEPHAN E. MORALES, a.k.a. “Chills,” and
EULALIO VALENTIN CHAVEZ, a.k.a. “Lalo,” the amount involved in the conspiracy
attributable to them as a result of their own conduct, and the conduct of other conspirators
reasonably foreseeable to them, is 1 kilogram and more containing a detectable amount of
heroin, contrary to 21 U.S.C. § 841(b)(1)(A).

Overt Acts

In furtherance of the conspiracy, and to accomplish the objectives of the conspiracy, the
following acts, among others, Were committed:

Overt Act One

On 0ctober 24, 2017, through a series of text messages, Eulalio Valentin Chavez agreed
to sell up to five ounces of heroin, for $975 per ounce, to an undercover agent.

Overt Act Two

On October 24, 2017, in a telephone call, Rene Verdugo and Eulalio Valentin Chavez
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arranged to get heroin to sell.
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On October 24, 2017, in a telephone call, Stephan E. Morales and Eulalio Valentin
Chavez arranged for Eulalio Valentin Chavez to receive heroin that Eulalio Valentin Chavez
later sold to an undercover agent.
Overt Act Four
On October 24, 2017, in a text message, Stephan E. Morales provided his address to
Eulalio Valentin Chavez.
Overt Act Five
On October 24, 2017, Stephan E. Morales gave heroin to Eulalio Valentin Chavez at
Stephan E. Morales’ residence.
Overt Act Six
On October 24, 201?, Eulalio Valentin Chavez sold 563.1 net grams of heroin for $3,900
to an undercover agent.
Overt Act Seven
On October 24, 2017, following the sale of heroin to an undercover agent, Eulalio
Valentin Chavez delivered money from the sale to Rene Verdugo.
Overt Act Eight
On October 30, 2017, in a telephone call, Rene Verdugo and Eulalio Valentin Chavez
confirmed that Eulalio Valentin Chavez` customer was going to pay $4,200 for one pound of
methamphetamine the next day.
Overt Act Nine
On October 31, 2017, in a series of text messages, Rene Verdugo and Eulalio Valentin

Chavez arranged for Eulalio Valentin Chavez to pick up Rene Verdugo and Alonso P. Grado, Jr.
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Overt Act Ten
On October 31, 201?, Alonso P. Grado, Jr. transported methamphetamine from Deming
to Las Cruces.
Overt Act Eleven
On October 31, 2017, Alonso P. Grado, Jr., Rene Verdugo, and Eulalio Valentin Chavez
traveled together to the Lowes Home Improvement store and sold 432.8 net grams of
methamphetamine for $4,200 to an undercover agent.
Overt Act Twelve
On November 20, 2017, in a telephone call, Eulalio Valentin Chavez agreed to sell ten
ounces of heroin for $9,000 to an undercover agent
Overt Act Thirteen
On November 21, 2017, in a telephone call with Stephan E. Morales, Rene Verdugo
continued that Stephan E. Morales would have heroin available the following day.
Overt Act Fourteen
On November 21, 2017, in a telephone call, Rene Verdugo informed Eulalio Valentin
Chavez that Stephan E. Morales would have heroin available the following day.
Overt Act Fitteen
On November 22, 2017, Stephan E. Morales and Eulalio Valentin Chavez attempted to
obtain heroin for the deal that Eulalio Valentin Chavez had previously agreed to conduct with
the undercover agent that day, but they were not able to do so.
Overt Act Sixteen
On November 24, 2017, in a telephone call, Rene Verdugo and Stephan E. Morales
discussed the failed heroin deal that they had attempted on November 22, 2017, and discussed

how to better work with the heroin source of supply in the lilture.
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On November 29 and November 30, 2017, in a series of text messages, Rene Verdugo
offered to sell Stephan E. Morales ounce quantities of methamphetamine for $350 each, and
Stephan E. Morales attempted to negotiate a lower price.

Overt Act Ei teen

On December 1, 201 ?, in a telephone call with the undercover agent, Eulalio Valentin
Chavez agreed to sell one pound of methamphetamine for $4,200, and ten ounces of heroin for
$9,000, later that day.

Overt Act Nineteen

On December 1, 2017, in a telephone call, Eulalio Valentin Chavez and Rene Verdugo
discussed the availability of one pound of methamphetamine and seven ounces of heroin that
Eulalio Valentin Chavez had arranged to sell to the undercover agent.

Overt Act Twenty

On December 1, 2017, in a series of text messages, Rene Verdugo told Alonso P. Grado,
Jr. that the undercover agent was in town and wanted buy all of the methamphetamine that
Alonso P. Grado, Jr. had at that time.

Overt Act Twenty-One

011 December l, 2017, in a telephone call, Rene Verdugo told Alonso P. Grado, Jr. that
the undercover agent was in las Cruces and wanted methamphetamine, and Alonso P. Grado, Jr.
said that all the methamphetamine was in Deming and Alonso P. Grado, Jr. would need a ride
from Las Cruces to Deming to get the methamphetamine

Overt Act Twenty-Two
On December l, 2017, in a telephone call, Rene Verdugo told Eulalio Valentin Chavez

that Alonso P. Grado, Jr. would go to Derning to pick up whatever methamphetamine Alonso P.
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Grado, Jr. had there and that Rene Verdugo also would talk with Stephan E. Morales about the
heroin that the undercover agent had asked to purchase
Overt Act Twenty-Three
On December 1, 2017, in a telephone call, Stephan E. Morales told Rene Verdugo that
Stephan E. Morales could not get any heroin, and Rene Verdugo asked if Stephan E. Morales
wanted Rene Verdugo to obtain ounce-level quantities of methamphetamine from Rene
Verdugo’s methamphetamine source of supply.
Overt Act Twent_y-Four
On December 1, 2017, in a telephone call, Eulalio Valentin Chavez told the undercover
agent that seven ounces of heroin would cost $6,300, which they both agreed was too high a
price, and Eulalio Valentin Chavez and the UC decided to focus only on a methamphetamine
deal for that day.
Overt Act Twenty-Five
On December 1, 2017, after Alonso P. Grado, Jr. was slow to provide methamphetamine,
Rene Verdugo and Eulalio Valentin Chavez agreed to cancel the drug deal that day.
Overt Act Twenty-Six
On December 2, 201 '7, in a telephone call, Stephan E. Morales told Rene Verdugo that
he had between $425 and $450 to purchase an ounce of methamphetamine, and Rene Verdugo
said he was trying to arrange with a source of supply to get an ounce of methamphetamine for
Stephan E. Morales at that price.
fn violation of21 U.S.C. § 846.
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On or about October 24, 2017, in Doila Ana County, in the District of New Mexico, and

elsewhere, the defendant, EULALIO VALENTIN CHAVEZ, a.k.a. “Lalo,” unlawfully,
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knowingly and intentionally used a communication facility, a telephone, to further the
commission of a drug trafficking crime, namely, conspiracy to distribute a controlled substance,
contrary to 21 U.S.C. § 846.
In violation of 21 U.S.C. § 843(13).
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On or about October 24, 2017, in Dor"ia Ana County, in the District of New Mexico, and
elsewhere, the defendants, RENE VERDUGO and EULALIO VALENTIN CHAVEZ, a.k.a.
“Lalo,” unlawii.illy, knowingly and intentionally used a communication facility, a telephone, to
further the commission of a drug trafficking crime, namely, conspiracy to distribute a controlled
substance, contrary to 21 U.S.C. § 846.

In violation of 21 U.S.C. § 843(b).

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On or about October 24, 2017, in Dor“ia Ana County, in the District of New Mexico, and
elsewhere, the defendants, STEPHAN E. MORALES, a.k.a. “Chills,” and EULALIO
VALENTIN CHAVEZ, a.k.a. “Lalo,” unlawfully, knowingly and intentionally used a
communication facility, a telephone, to further the commission of a drug trafficking crime,
namely, conspiracy to distribute a controlled substance, contrary to 21 U.S.C. § 846.

ln violation of 21 U.S.C. § 843(b).

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On or about October 24, 2017, in Dor“ia Ana County, in the District of New Mexico, the
defendants, STEPHAN E. MORALES, a.k.a. “Chills,” RENE VERDUGO, and EULALIO
VALENTIN CHAVEZ, a.k.a. “Lalo,” unlawfully, knowingly and intentionally distributed a
controlled substance, 100 grams and more of a mixture and substance containing a detectable

amount of heroin.

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In violation of21 U.S.C. §§ 841(a)(1) and (b)(l)(B), and 18 U.S.C. § 2.
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On or about October 30, 2017, in Dofra Ana County, in the District of New Mexico, and
elsewhere, the defendants, RENE VERDUGO and EULALIO VALENTIN CI~IAVEZ, a.k.a.
“Lalo,” unlawfully, knowingly and intentionally used a communication facility, a telephone, to
further the commission of a drug trafficking crime, namely, conspiracy to distribute a controlled
substance, contrary to 21 U.S.C. § 846.
ln violation of 21 U.S.C. § 843(b).
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On or about October 31, 2017, in Doiia Ana County, in the District of New Mexico, and
elsewhere, the defendants, RENE VERDUGO and EULALIO VALENTIN CHAVEZ, a.k.a.
“Lalo,” unlawfully, knowingly and intentionally used a communication facility, a telephone, to
further the commission of a drug trafficking crime, namely, conspiracy to distribute a controlled
substance, contrary to 21 U.S.C. § 846.
In violation of 21 U.S.C. § 843(b).
M
On or about October 31, 201 '/', in Dofia Ana County, in the District of New Mexico, the
defendants, ALONSO P. GRAI)O, JR., a.k.a. “Lonsie,” RENE VERDUGO, and EULALIO
VALEN'I`IN CHAVEZ, a.k.a. “Lalo,” unlawfirlly, knowingly and intentionally distributed a
controlled substance, 50 grams and more of methamphetamine
In violation of21 U.S.C. §§ 841(a)(1) and {b)(l)(A), and 18 U.S.C.§ 2.
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On or about November 21, 2017, in Dor`ra Ana County, in the District of New Mexico,

and elsewhere, the defendants, RENE VER])UGO and STEPHAN E. MORALES, a.k.a.

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“Chi]]s,” unlawfully, knowingly and intentionally used a communication facility, a telephone, to
further the commission of a drug trafficking crime, namely, conspiracy to distribute a controlled
substance1 contrary to 21 U.S.C. § 846.
In violation of 21 U.S.C. § 843(b).
_C.QMLJQ
On or about November 21 , 2017, in Dofia Ana County, in the District of New Mexico,
and elsewhere, the defendants, RENE VERDUGO and EULALIO VALEN’I'IN CHAVEZ,
a.k.a. “Lalo,” unlawfully, knowingly and intentionally used a communication facility, a
telephone, to further the commission of a drug trafficking crime, namely, conspiracy to distribute
a controlled substance, contrary to 21 U.S.C. § 846.
In violation of 21 U.S.C. § 843(b).
C_OuLll
On or about December 1, 2017, in Dofla Ana County, in the District of New Mexico, and
elsewhere, the defendants, RENE VERDUGO and EULALIO VALENTlN CHAVEZ, a.k.a.
“Lalo,” unlawfully, knowingly and intentionally used a communication facility, a telephone, to
further the commission of a drug trafficking crime, namely, conspiracy to distribute a controlled
substance, contrary to 21 U.S.C. § 846.
ln violation of 21 U.S.C. § 843(b).
M
On or about December l, 2017, in Doiia Ana County, in the District of New Mexico, and
elsewhere, the defendants, ALONSO P. GRADO, JR., a.k.a. “Lonsie,” and RENE
VERDUGO, unlawfully, knowingly and intentionally used a communication facility, a
telephone, to further the commission of a drug trafficking crime, namely, conspiracy to distribute

a controlled substance, contrary to 21 U.S.C. § 846.

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In violation of 21 U.S.C. § 843(1;))_
Count 13
On or about December 1, 2017, in Dor`ia Ana County, in the District of New Mexico, and
elsewhere, the defendants, RENE VERDUGO and STEPHAN E. MORALES, a.k.a. “Chills,”
unlawfully, knowingly and intentionally used a communication facility, a telephone, to further
the commission of a drug trafficking crime, namely, conspiracy to distribute a controlled
substance, contrary to 21 U.S.C. § 846.

In violation of 21 U.S.C. § 843(b).
A TRUE BILL:

/s/

 

FOREPERSON OF THE GRAND JURY

 

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